           Case 2:03-cr-00272-FCD Document 49 Filed 09/09/05 Page 1 of 2


1    KRISTA HART
     Attorney at Law
2    State Bar #199650
     428 J Street, Suite 350
3    Sacramento, California 95814
     Telephone: (916) 731-8811
4
     Attorney for Defendant
5    Teresa Diane Davis
6
7                        IN THE UNITED STATES DISTRICT COURT
8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
11   UNITED STATES OF AMERICA,          )   No. Cr.S. 03-389 FCD
                                        )             03-272 FCD
12               Plaintiff,             )
                                        )   STIPULATION TO RESET DATE OF
13        v.                            )   STATUS CONFERENCE
                                        )
14                                      )
     TERESA DIANE DAVIS,                )
15                                      )   Date: September 12, 2005
                 Defendant.             )   Time: 9:30 a.m.
16                                      )   Judge: Hon. Frank C. Damrell, Jr.
     _______________________________
17
18        IT IS HEREBY requested by the United States of America through its
19   undersigned counsel, Michelle Rodriguez, together with counsel for the
20   defendant, Krista Hart for Teresa Davis, that the status conference set
21   for September 12, 2005, be vacated and reset for January 9, 2006, at
22   9:30 a.m.
23        This matter is on calendar for a status conference concerning the
24   appeal.   The appeal in this matters involves sentencing issues and Ms.
25   Davis is out of custody pending the resolution of the appeal.         The
26   appeal is currently set for oral argument in the Ninth Circuit Court of
27   Appeals on November 14, 2005.     Thus, it appears that January 9, 2005,
28   is a reasonable date which may allow sufficient time for the Ninth
           Case 2:03-cr-00272-FCD Document 49 Filed 09/09/05 Page 2 of 2


1    Circuit to issues its ruling.
2                                     Respectfully submitted,
3
4
5    September 9, 2005                 /s/ Krista Hart
                                      Attorney for Defendant
6
7
8    September 9, 2005                McGREGOR SCOTT
                                      United States Attorney
9
10
11                                     /s/ Michelle Rodriguez
                                      Assistant US Attorney
12
13
14                                        ORDER
15
16        Good cause appearing, it is ordered that the status conference set
17   for September 12, 2005, be vacated and reset for January 9, 2006, at
18   9:30 a.m.
19
20   DATED: September 9, 2005         /s/ Frank C. Damrell Jr.
                                      Hon. Frank C. Damrell, Jr.
21                                    US District Court Judge
22
23
24
25
26
27
28                                          2
